
In an action of ejectment, in the Superior Court of Frederick County, the declaration contained two counts; the first of which laid the demise of the land in controversy, (viz. “the land whereon Albion Throckmorton formerly lived containing1 294 acres,’’) as from a certain John Holker; and the second laid the demise of the same land, as from Hannah H. Cooper. Mor-decai Throckmorton, tenant in possession, was admitted defendant in the room of the casual ejector, confessed the lease, entry, and ouster, pleaded the general issue, and agreed to insist on the title only at the trial. The jury found for the plaintiff ‘ ‘the land in the second count in the declaration mentioned, and one cent damages; and for the defendant on the first count; subject to the opinion of the court, whether the ejectment could be sustained, upon the declaration filed in this cause.” The court, after-wards, on motion of the plaintiff, permitted him to amend his declaration by enlarging his term, from ten to fifteen years;(a) and having considered the verdict, and a motion of the defendant in arrest of judgment, was of opinion that the said motion be overruled, and that judgment be entered for the plaintiff for the land in the second count of the declaration mentioned, together with his damages and costs. Whereupon the defendant appealed.
Page, for the appellant, and Wickham, for the appellee, submitted the case; and, on the 6th of March, 1812, the judgment was affirmed.

 See Hunter v. Fairfax’s devisees, 1 Munf. 218, pl. h, and p. 238.

